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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

JARROD JOHNSON, individually,   )         Civil Action No. 4:20-cv-0008-AT
and on Behalf of a Class of persons
                                )
similarly situated,             )
                                )
                    Plaintiff,  )
                                )
v.                              )
                                )
3M COMPANY; ALADDIN             )
MANUFACTURING                   )
CORPORATION; AMERICHEM,         )
INC.; ARROWSTAR, LLC; CHEM-     )
TECH FINISHERS, INC.; COLOR     )
EXPRESS, INC.; COLUMBIA         )
RECYCLING CORP.; CYCLE TEX,     )
INC.; DAIKIN AMERICA, INC.; THE )
CITY OF DALTON, GEORGIA,        )
acting through its BOARD OF     )
WATER, LIGHT AND SINKING        )
FUND COMMISSIONERS, d/b/a       )
DALTON UTILITIES;               )
DALTON/WHITFIELD REGIONAL       )           ANSWER TO FOURTH
SOLID WASTE AUTHORITY;          )         AMENDED INDIVIDUAL AND
DYSTAR, LP; E.I. DU PONT DE     )         CLASS ACTION COMPLAINT
NEMOURS AND COMPANY;            )
ENGINEERED FLOORS, LLC;         )
FIBRO CHEM, LLC; GREEN          )
VULTURE, LLC; IMACC             )
CORPORATION; INV                )
PERFORMANCE SURFACES, LLC; )
J&S RUG COMPANY, INC. D/B/A     )
LOG CABIN COMPANY; JB NSD,      )
INC.; MFG CHEMICAL, LLC;        )
MILLIKEN & COMPANY;             )
MOHAWK CARPET, LLC;             )
MOHAWK INDUSTRIES, INC.;        )
ORIENTAL WEAVERS, USA, INC.; )
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POLYVENTIVE, LLC; SECOA                    )
TECHNOLOGY, LLC; SHAW                      )
INDUSTRIES, INC.; SHAW                     )
INDUSTRIES GROUP, INC.;                    )
TARKETT USA, INC.; THE                     )
CHEMOURS COMPANY; and THE                  )
DIXIE GROUP, INC.,                         )
                                           )
                      Defendants.          )


        Defendant DyStar LP (“DyStar”), by its undersigned attorneys, answers

 Plaintiff’s Fourth Amended Complaint (“Complaint”) as follows:

                                     FIRST DEFENSE

       The Complaint, and each cause of action or count alleged therein, fails to

state facts sufficient to constitute a claim upon which relief may be granted against

DyStar.

                                   SECOND DEFENSE
             (Specifically responding to the allegations in the Complaint)

        The introduction in the Complaint does not contain allegations and

 therefore no response is required. To the extent a response is deemed to be

 required, any allegations are denied.

                            STATEMENT OF THE CASE

       1.        Answering the allegations of Paragraph 1 of the Complaint, DyStar

admits that Plaintiff asserts claims concerning, among other matters, alleged water

contamination. Allegations contained in Paragraph 1 of the Complaint constitute

legal conclusions to which no response is required. To the extent a response is

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deemed to be required, those allegations are denied. Except as expressly admitted,

all remaining allegations are denied.

       2.        Answering the allegations of Paragraph 2 of the Complaint, DyStar

admits that Plaintiff asserts class claims concerning, among other matters, alleged

nuisance. Allegations contained in Paragraph 2 of the Complaint constitute legal

conclusions to which no response is required. To the extent a response is deemed

to be required, those allegations are denied. Except as expressly admitted, all

remaining allegations are denied.

       3.        Answering the allegations of Paragraph 3 of the Complaint, DyStar

admits on information and belief that the Rome Water and Sewer Division

(“RWSD”) or the Floyd County Water Department (“FCWD”), provides domestic

water service in Rome, Georgia. DyStar lacks knowledge or information sufficient

to form a belief regarding the truth of the remaining allegations contained in

Paragraph 3 of the Complaint, and therefore such allegations are denied.

       4.        Answering the allegations of Paragraph 4 of the Complaint, DyStar

admits that it owns a former manufacturing plant located at 2474 Abutment Road

in Dalton, Georgia. Except as expressly admitted, all remaining allegations are

denied.

       5.        DyStar denies the allegations contained in Paragraph 5 of the

Complaint to the extent they relate to DyStar. DyStar lacks knowledge or



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information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 5 of the Complaint to the extent they relate to other

Defendants, and therefore denies any and all remaining allegations contained in

Paragraph 5 of the Complaint.

       6.        The allegations contained in Paragraph 6 of the Complaint constitute

legal conclusions to which no response is required. To the extent a response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 6 of the

Complaint and therefore such allegations are denied.

                            JURISDICTION AND VENUE

       7.        The allegations contained in Paragraph 7 of the Complaint constitute

legal conclusions to which no response is required. To the extent a response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 7 of the

Complaint and therefore such allegations are denied.

       8.        The allegations contained in Paragraph 8 of the Complaint, including

referenced exhibits, constitute legal conclusions to which no response is required.

Further, Paragraph 8 pertains only to other defendants and therefore no response

from DyStar is required. To the extent a response is deemed to be required, DyStar

lacks knowledge or information sufficient to form a belief regarding the truth of



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the allegations contained in Paragraph 8 of the Complaint and therefore such

allegations are denied.

       9.        The allegations contained in Paragraph 9 of the Complaint constitute

legal conclusions to which no response is required. To the extent a response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 9 of the

Complaint and therefore such allegations are denied.

       10.       The allegations contained in Paragraph 10 of the Complaint constitute

legal conclusions to which no response is required. To the extent a response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 10 of the

Complaint and therefore such allegations are denied.

       11.       The allegations contained in Paragraph 11 of the Complaint constitute

legal conclusions to which no response is required. To the extent a response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 11 of the

Complaint and therefore such allegations are denied.

       12.       The allegations contained in Paragraph 12 of the Complaint constitute

legal conclusions to which no response is required. To the extent a response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a



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belief regarding the truth of the allegations contained in Paragraph 12 of the

Complaint and therefore such allegations are denied.

       13.       The allegations contained in Paragraph 13 of the Complaint constitute

legal conclusions to which no response is required. To the extent a response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 13 of the

Complaint and therefore such allegations are denied.

       14.       The allegations contained in Paragraph 14 of the Complaint constitute

legal conclusions to which no response is required. To the extent a response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 14 of the

Complaint and therefore such allegations are denied.

                                       PARTIES

       15.       DyStar denies all allegations contained in Paragraph 15 of the

Complaint to the extent they relate to DyStar. DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 15 of the Complaint to the extent they relate to Plaintiff or

other Defendants, or to alleged contamination of the water supply, and therefore

denies any and all remaining allegations contained in Paragraph 15 of the

Complaint.



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       16.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 16 of the Complaint,

and therefore such allegations are denied.

       17.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 17 of the Complaint,

and therefore such allegations are denied.

       18.       Paragraph 18 pertains only to Defendant 3M Company (“3M”), and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 18 and therefore

denies the same.

       19.       Paragraph 19 pertains only to Defendant Aladdin Manufacturing

Corporation (“Aladdin”), and therefore no response from DyStar is required. To

the extent a response is deemed to be required, DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 19 and therefore denies the same.

       20.       Paragraph 20 pertains only      to Defendant Americhem, Inc.

(“Americhem”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information




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sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 20 and therefore denies the same.

       21.       Paragraph   21   pertains   only   to   Defendant ArrowStar, LLC

(“ArrowStar”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 21 and therefore denies the same.

       22.       Paragraph 22 pertains only to Defendant Chem-Tech Finishers, Inc.

(“Chem-Tech”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 22 and therefore denies the same.

       23.       Paragraph 23 pertains only to Defendant Color Express, Inc. (“Color

Express”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 23 and therefore denies the same.

       24.       Paragraph 24 pertains only to Defendant Columbia Recycling Corp.

(“Columbia Recycling”) and therefore no response from DyStar is required. To

the extent a response is deemed to be required, DyStar lacks knowledge or



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information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 24 and therefore denies the same.

       25.        Paragraph 25 pertains only to Defendants Cycle Tex, Inc. (“Cycle

Tex”) and Daikin America, Inc. (“Daikin”) and therefore no response from DyStar

is required. To the extent a response is deemed to be required, DyStar lacks

knowledge or information sufficient to form a belief regarding the truth of the

allegations contained in Paragraph 25 and therefore denies the same.

       26.        Paragraph 26 pertains only to Defendant The City of Dalton, Georgia,

acting through its Board of Water, Light and Sinking Fund Commissioners, d/b/a

Dalton Utilities (“Dalton Utilities”) and therefore no response from DyStar is

required.        To the extent a response is deemed to be required, DyStar lacks

knowledge or information sufficient to form a belief regarding the truth of the

allegations contained in Paragraph 26 and therefore denies the same.

       27.        DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 27 of the Complaint,

and therefore such allegations are denied.

       28.        Paragraph 28 pertains only to Defendant Dalton/Whitfield Regional

Solid Waste Authority (“DWSWA”) and therefore no response from DyStar is

required.        To the extent a response is deemed to be required, DyStar lacks




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knowledge or information sufficient to form a belief regarding the truth of the

allegations contained in Paragraph 28 and therefore denies the same.

       29.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 29 of the Complaint,

and therefore such allegations are denied.

       30.       DyStar admits that it is a limited partnership authorized to do business

in the State of Georgia. DyStar further admits that it conducts business in Georgia.

DyStar further admits that it owns a business located at 2474 Abutment Road,

Dalton, Georgia. DyStar further admits that it maintains a permit for industrial

wastewater discharges and at one time discharged industrial wastewater to the

Dalton Utilities wastewater treatment plant.         Except as expressly admitted, all

remaining allegations are denied.

       31.       Paragraph 31 pertains only to Defendant E.I. du Pont de Nemours and

Company (“Dupont”) and therefore no response from DyStar is required. To the

extent a response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 31 and therefore denies the same.

       32.       Paragraph 32 pertains only to Defendant Engineered Floors, LLC

(“Engineered Floors”) and therefore no response from DyStar is required. To the

extent a response is deemed to be required, DyStar lacks knowledge or information



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sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 32 and therefore denies the same.

       33.       Paragraph 33 pertains only to Defendant Fibro Chem, LLC (“Fibro

Chem”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 33 and therefore denies the same.

       34.       Paragraph 34 pertains only to Defendant Green Vulture, LLC (“Green

Vulture”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 34 and therefore denies the same.

       35.       Paragraph 35 pertains only to Defendant IMACC Corporation

(“IMACC”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 35 and therefore denies the same.

       36.       Paragraph 36 pertains only to Defendant INV Performance Surfaces,

LLC (“INVISTA”) and therefore no response from DyStar is required. To the

extent a response is deemed to be required, DyStar lacks knowledge or information



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sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 36 and therefore denies the same.

       37.       Paragraph 37 pertains only to Defendant JB NSD, Inc. (“JBNSD”)

and therefore no response from DyStar is required. To the extent a response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 37 and therefore

denies the same.

       38.       Paragraph 38 pertains only to Defendant J&S Rug Company, Inc.

d/b/a Log Cabin Company (“Log Cabin” or “J&S”) and therefore no response from

DyStar is required. To the extent a response is deemed to be required, DyStar

lacks knowledge or information sufficient to form a belief regarding the truth of

the allegations contained in Paragraph 38 and therefore denies the same.

       39.       Paragraph 39 pertains only to Defendant MFG Chemical, LLC

(“MFG”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 39 and therefore denies the same.

       40.       Paragraph 40 pertains only to Defendant Milliken & Company

(“Milliken”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information



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sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 40 and therefore denies the same.

       41.       Paragraph 41 pertains only to Defendant Mohawk Carpet, LLC

(“Mohawk Carpet”) and therefore no response from DyStar is required. To the

extent a response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 41 and therefore denies the same.

       42.       Paragraph 42 pertains only to Defendant Mohawk Industries, Inc.

(“Mohawk Industries”) and therefore no response from DyStar is required. To the

extent a response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 42 and therefore denies the same.

       43.       Paragraph 43 pertains only to Defendant Oriental Weavers U.S.A.,

Inc. (“Oriental”) and therefore no response from DyStar is required. To the extent

a response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 43 and therefore denies the same.

       44.       Paragraph 44 pertains only to Defendant Polyventive LLC

(“Polyventive”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information



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sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 44 and therefore denies the same.

       45.        Paragraph 45 pertains only to Defendant Secoa Technology, LLC

(“Secoa”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 45 and therefore denies the same.

       46.        Paragraph 46 pertains only to Defendant Shaw Industries, Inc. is a

domestic corporation and a wholly-owned subsidiary of Shaw Industries Group,

Inc. (collectively, “Shaw Industries”) and therefore no response from DyStar is

required.        To the extent a response is deemed to be required, DyStar lacks

knowledge or information sufficient to form a belief regarding the truth of the

allegations contained in Paragraph 46 and therefore denies the same.

       47.        Paragraph 47 pertains only to Defendant Tarkett USA, Inc. (“Tarkett

USA”) and therefore no response from DyStar is required.            To the extent a

response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 47 and therefore denies the same.

       48.        Paragraph 48 pertains only to Defendant The Chemours Company

(“Chemours”) and therefore no response from DyStar is required. To the extent a



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response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 48 and therefore denies the same.

       49.       Paragraph 49 pertains only to Defendant The Dixie Group, Inc.

(“Dixie”) and therefore no response from DyStar is required. To the extent a

response is deemed to be required, DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the allegations contained in

Paragraph 49 and therefore denies the same.

                             FACTUAL ALLEGATIONS

       50.       DyStar admits on information and belief that certain substances that

have been described as “PFAS” have been used in the manufacture of carpet and

associated processes. DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the remaining allegations contained in Paragraph 50,

and therefore denies the same. Except as expressly admitted, all remaining

allegations are denied.

       51.       DyStar admits on information and belief that PFAS are man-made

chemicals that do not exist naturally in the environment.         DyStar denies the

remaining allegations contained in Paragraph 51 of the Complaint, including on the

basis that they are incomplete and/or incorrect descriptions of complex scientific

and technical matters and that may require expert analysis and testimony. Except

as expressly admitted, all remaining allegations are denied.

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       52.       DyStar admits on information and belief that certain substances that

have been described as “PFAS” have been used in industrial and consumer

products. DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the remaining allegations contained in Paragraph 52, and

therefore denies the same. Except as expressly admitted, all remaining allegations

are denied.

       53.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 53 of the Complaint,

and therefore such allegations are denied.

       54.       DyStar denies the allegations contained in Paragraph 54 of the

Complaint, including on the basis that they are incomplete and/or incorrect

descriptions of complex scientific and technical matters and that may require

expert analysis and testimony.

       55.       DyStar admits on information and belief that the C8 Health Project

conducted research related to PFAS exposure.            DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the remaining

allegations set forth in Paragraph 55 of the Complaint related to what unspecified

research may or may not show, and therefore the remaining allegations contained

in Paragraph 55 of the Complaint are denied.




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       56.       DyStar admits on information and belief that the C8 Science Panel

conducted research related to PFAS exposure.             DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the remaining

allegations set forth in Paragraph 56 of the Complaint related to what unspecified

research may or may not show, and therefore the remaining allegations contained

in Paragraph 56 of the Complaint are denied.

       57.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations set forth in Paragraph 57 of the Complaint,

and therefore the allegations contained in Paragraph 57 of the Complaint are

denied.

       58.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations set forth in Paragraph 58 of the Complaint,

and therefore the allegations contained in Paragraph 58 of the Complaint are

denied.

       59.       DyStar admits that Plaintiff references a publication reportedly issued

by the Environmental Protection Agency (“EPA”) and refers Plaintiff to the EPA

publication for its contents. DyStar lacks knowledge or information sufficient to

form a belief regarding the truth of the underlying statements in the referenced

publication, and therefore the remaining allegations set forth in Paragraph 59 are

denied.



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       60.       DyStar admits that Plaintiff references a publication issued by EPA

and refers Plaintiff to the EPA publication for its contents.          DyStar lacks

knowledge or information sufficient to form a belief regarding the truth of the

underlying statements in the referenced publication, and therefore the remaining

allegations set forth in Paragraph 60 are denied.

       61.       DyStar admits that Plaintiff references a publication issued by EPA

and refers Plaintiff to the EPA publication for its contents.          DyStar lacks

knowledge or information sufficient to form a belief regarding the truth of the

underlying statements in the referenced publication, and therefore the remaining

allegations set forth in Paragraph 61 are denied.

       62.       DyStar admits that Plaintiff references a publication issued by the

Agency for Toxic Substances and Disease Registry (“ATSDR”) and refers Plaintiff

to the ATSDR publication for its contents. DyStar lacks knowledge or information

sufficient to form a belief regarding the truth of the underlying statements in the

referenced publication, and therefore the remaining allegations set forth in

Paragraph 62 are denied.

       63.       DyStar admits that Plaintiff references a publication issued by the

ATSDR and refers Plaintiff to the ATSDR publication for its contents. DyStar

lacks knowledge or information sufficient to form a belief regarding the truth of




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the underlying statements in the referenced publication, and therefore the

remaining allegations set forth in Paragraph 63 are denied.

       64.       DyStar admits that Plaintiff references actions related to PFAS

allegedly taken by individual states and refers Plaintiff to those states for those

alleged actions. DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the underlying statements in the referenced publication, and

therefore the remaining allegations set forth in Paragraph 64 are denied.

       65.       DyStar admits that Plaintiff references the published National Defense

Authorization Act for Fiscal Year 2020 and refers Plaintiff to that publication for

its contents. DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the underlying statements in the referenced publication, and

therefore the remaining allegations set forth in Paragraph 65 are denied.

       66.       DyStar denies all allegations contained in Paragraph 66 of the

Complaint to the extent they relate to DyStar.           DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 66 of the Complaint to the extent they relate to other

Defendants or to alleged contamination of the water supply, and therefore denies

any and all remaining allegations contained in Paragraph 66 of the Complaint.

       67.       Paragraph 67 pertains only to manufacturers of PFAS and therefore no

response from DyStar is required. To the extent a response is deemed to be



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required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 67 and therefore

denies the same.

       68.       Paragraph 68 pertains only to Defendant 3M, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 68 and therefore

denies the same.

       69.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 69 of the Complaint,

and therefore such allegations are denied.

       70.       Paragraph 70 pertains only to Defendant 3M, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 70 and therefore

denies the same.

       71.       Paragraph 71 pertains only to Defendant 3M, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief




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regarding the truth of the allegations contained in Paragraph 71 and therefore

denies the same.

       72.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 72 of the Complaint,

and therefore such allegations are denied.

       73.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 73 of the Complaint,

and therefore such allegations are denied.

       74.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 74 of the Complaint,

and therefore such allegations are denied.

       75.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 75 of the Complaint,

and therefore such allegations are denied.

       76.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 76 of the Complaint,

and therefore such allegations are denied.

       77.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 77 of the Complaint,

and therefore such allegations are denied.



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       78.       DyStar denies all allegations contained in Paragraph 78 of the

Complaint to the extent they relate to DyStar.         DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 78 of the Complaint to the extent they relate to other

Defendants, and therefore denies any and all remaining allegations contained in

Paragraph 78 of the Complaint.

       79.       DyStar denies all allegations contained in Paragraph 79 of the

Complaint to the extent they relate to DyStar.         DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 79 of the Complaint to the extent they relate to other

Defendants, and therefore denies any and all remaining allegations contained in

Paragraph 79 of the Complaint.

       80.       DyStar denies all allegations contained in Paragraph 80 of the

Complaint to the extent they relate to DyStar.         DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 80 of the Complaint to the extent they relate to other

Defendants, and therefore denies any and all remaining allegations contained in

Paragraph 80 of the Complaint.

       81.       DyStar admits on information and belief that EPA has taken certain

actions over time to limit the manufacture of PFOA, PFOS, and related chemicals.



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DyStar denies the remaining allegations contained in Paragraph 81 of the

Complaint to the extent they relate to DyStar.         DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 81 of the Complaint to the extent they relate to other

Defendants, and therefore denies any and all remaining allegations contained in

Paragraph 81 of the Complaint.

       82.       DyStar admits that it maintains a permit for industrial wastewater

discharges and at one time discharged industrial wastewater to the Dalton Utilities

wastewater treatment plant.         Except as expressly admitted, all remaining

allegations are denied.

       83.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 83 of the Complaint,

and therefore such allegations are denied.

       84.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 84 of the Complaint,

and therefore such allegations are denied.

       85.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 85 of the Complaint,

and therefore such allegations are denied.




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       86.       DyStar denies all allegations contained in Paragraph 86 of the

Complaint to the extent they relate to DyStar.        DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 86 of the Complaint to the extent they relate to other

Defendants or to alleged contamination of the water supply, and therefore denies

any and all remaining allegations contained in Paragraph 86 of the Complaint.

       87.       DyStar denies all allegations contained in Paragraph 87 of the

Complaint to the extent they relate to DyStar.        DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 87 of the Complaint to the extent they relate to other

Defendants or to alleged contamination of the water supply, and therefore denies

any and all remaining allegations contained in Paragraph 87 of the Complaint.

       88.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 88 of the Complaint,

and therefore such allegations are denied.

       89.       DyStar denies all allegations contained in Paragraph 89 of the

Complaint to the extent they relate to DyStar. DyStar lacks knowledge or

information sufficient to form a belief regarding the truth of the allegations

contained in Paragraph 89 of the Complaint to the extent they relate to other




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Defendants or to alleged contamination of the water supply, and therefore denies

any and all remaining allegations contained in Paragraph 89 of the Complaint.

       90.       DyStar admits, upon information and belief, that the University of

Georgia (“UGA”) completed water sampling for PFAS in the Conasauga River and

refers Plaintiff to the sampling results for their contents. DyStar lacks knowledge

or information sufficient to form a belief regarding the truth of the remaining

allegations contained in Paragraph 90 of the Complaint, and therefore such

allegations are denied.

       91.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 91 of the Complaint,

and therefore such allegations are denied.

       92.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 92 of the Complaint,

and therefore such allegations are denied.

       93.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 93 of the Complaint,

and therefore such allegations are denied.

       94.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 94 of the Complaint,

and therefore such allegations, including allegations related to exhibits, are denied.



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       95.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 95 of the Complaint,

and therefore such allegations, including allegations related to exhibits, are denied.

       96.       Dystar lacks knowledge of information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 96 of the Complaint,

and therefore such allegations, including allegations related to exhibits, are denied.

       97.       Dystar lacks knowledge of information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 97 of the Complaint,

and therefore such allegations, including allegations related to exhibits, are denied.

       98.       Dystar lacks knowledge of information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 98 of the Complaint,

and therefore such allegations, including allegations related to exhibits, are denied.

       99.       DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 99 of the Complaint,

and therefore such allegations are denied.

       100. DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 100 of the Complaint,

and therefore such allegations are denied.

       101. DyStar admits on information and belief that EPA set new Health

Advisories for PFOA and PFOS in May 2016.               DyStar lacks knowledge or



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information sufficient to form a belief regarding the truth of the remaining

allegations contained in Paragraph 101 of the Complaint, and therefore such

allegations are denied.

       102. DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 102 of the Complaint,

and therefore such allegations are denied.

       103. DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 103 of the Complaint,

and therefore such allegations are denied.

       104. DyStar admits on information and belief that the Rome City Council

enacted a resolution related to alleged PFAS contamination of the Oostanaula

River. DyStar lacks knowledge or information sufficient to form a belief regarding

the truth of the remaining allegations contained in Paragraph 104 of the Complaint,

and therefore such allegations are denied.

       105. DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 105 of the Complaint,

and therefore such allegations are denied.

       106. The allegations of Paragraph 106 constitute legal conclusions to

which no response is required. To the extent that a response is deemed required,

DyStar denies all allegations contained in Paragraph 106 of the Complaint to the



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extent they relate to DyStar. DyStar lacks knowledge or information sufficient to

form a belief regarding the truth of the allegations contained in Paragraph 106 of

the Complaint to the extent they relate to other Defendants or to alleged

contamination of the water supply, and therefore denies any and all remaining

allegations contained in Paragraph 106 of the Complaint.

                        COUNT ONE:
   ALLEGED DISCHARGE OF POLLUTANTS TO SURFACE WATERS
    WITHOUT AN NPDES PERMIT IN VIOLATION OF THE CLEAN
                        WATER ACT
                  (Defendant Dalton Utilities)

       107. DyStar fully incorporates herein its responses to Paragraphs 1 through

106 in the Complaint as though fully set forth herein, and denies all allegations

except as admitted herein.

       108. Paragraph 108 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 108 and therefore

denies the same.

       109. Paragraph 109 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 109 and therefore

denies the same.

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       110. Paragraph 110 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 110 and therefore

denies the same.

       111. Paragraph 111 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 111 and therefore

denies the same.

       112. Paragraph 112 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 112 and therefore

denies the same.

       113. Paragraph 113 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 113 and therefore

denies the same.



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       114. Paragraph 114 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 114 and therefore

denies the same.

       115. Paragraph 115 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 115 and therefore

denies the same.

       116. Paragraph 116 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 116 and therefore

denies the same.

       117. Paragraph 117 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 117, including

allegations related to exhibits, and therefore denies the same.



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       118. Paragraph 118 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 118, including

allegations related to exhibits, and therefore denies the same.

       119. Paragraph 119 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 119 and therefore

denies the same.

       120. Paragraph 120 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 120 and therefore

denies the same.

       121. Paragraph 121 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 121 and therefore

denies the same.



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       122. [THIS PARAGRAPH HAS BEEN OMITTED BY PLAINTIFF]

                      COUNT TWO:
ALLEGED DISCHARGES OF NON-STORMWATER CONTAINING PFAS
   IN VIOLATION OF NPDES GENERAL STORMWATER PERMIT

       123. DyStar fully incorporates herein its responses to Paragraphs 1 through

122 in the Complaint as though fully set forth herein, and denies all allegations

except as admitted herein.

       124. The allegations of Paragraph 124 constitute legal conclusions to

which no response is required. To the extent that a response is deemed required,

DyStar denies all allegations contained in Paragraph 124 of the Complaint to the

extent they relate to DyStar. DyStar lacks knowledge or information sufficient to

form a belief regarding the truth of the allegations contained in Paragraph 124 of

the Complaint to the extent they relate to other Defendants or to alleged

contamination of the water supply, and therefore denies any and all remaining

allegations contained in Paragraph 124 of the Complaint.

       125. The allegations of Paragraph 125 constitute legal conclusions to

which no response is required. To the extent that a response is deemed required,

DyStar denies all allegations contained in Paragraph 125 of the Complaint to the

extent they relate to DyStar. DyStar lacks knowledge or information sufficient to

form a belief regarding the truth of the allegations contained in Paragraph 125 of

the Complaint to the extent they relate to other Defendants or to alleged



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contamination of the water supply, and therefore denies any and all remaining

allegations contained in Paragraph 125 of the Complaint.

       126. The allegations of Paragraph 126 constitute legal conclusions to

which no response is required. To the extent that a response is deemed required,

DyStar denies all allegations contained in Paragraph 126 of the Complaint to the

extent they relate to DyStar. DyStar lacks knowledge or information sufficient to

form a belief regarding the truth of the allegations contained in Paragraph 126 of

the Complaint to the extent they relate to other Defendants or to alleged

contamination of the water supply, and therefore denies any and all remaining

allegations contained in Paragraph 126 of the Complaint.

       127. Paragraph 127 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 128, including

allegations related to exhibits, and therefore denies the same.

       128. Paragraph 128 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 128 and therefore

denies the same.



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       129. Paragraph 129 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 129 and therefore

denies the same.

       130. Paragraph 130 pertains only to Defendant Dalton Utilities, and

therefore no response from DyStar is required. To the extent a response is deemed

to be required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 130 and therefore

denies the same.

                          COUNT THREE:
  ALLEGED INDUSTRIAL USER PASS THROUGH DISCHARGES OF
POLLUTANTS IN VIOLATION OF FEDERAL PROHIBITIONS, DALTON
   UTILITIES’ SEWER USE RULES AND REGULATIONS, AND THE
                        CLEAN WATER ACT
      (Defendant Dalton/Whitfield Regional Solid Waste Authority)

       131. DyStar fully incorporates herein its responses to Paragraphs 1 through

130 in the Complaint as though fully set forth herein, and denies all allegations

except as admitted herein

       132. Paragraph 132 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief




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regarding the truth of the allegations contained in Paragraph 132 and therefore

denies the same.

       133. Paragraph 133 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 133 and therefore

denies the same.

       134. Paragraph 134 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 134 and therefore

denies the same.

       135. Paragraph 135 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 135 and therefore

denies the same.

       136. Paragraph 136 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief



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regarding the truth of the allegations contained in Paragraph 136 and therefore

denies the same.

       137. Paragraph 137 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 137 and therefore

denies the same.

       138. Paragraph 138 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 138 and therefore

denies the same.

       139. Paragraph 139 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 139 and therefore

denies the same.

       140. Paragraph 140 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief



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regarding the truth of the allegations contained in Paragraph 140 and therefore

denies the same.

       141. Paragraph 141 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 141, including

allegations related to exhibits, and therefore denies the same.

       142. Paragraph 142 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 142, including

allegations related to exhibits, and therefore denies the same.

       143. Paragraph 143 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 143 and therefore

denies the same.

       144. Paragraph 144 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief



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regarding the truth of the allegations contained in Paragraph 144 and therefore

denies the same.

       145. Paragraph 145 pertains only to Defendant DWSWA, and therefore no

response from DyStar is required. To the extent a response is deemed to be

required, DyStar lacks knowledge or information sufficient to form a belief

regarding the truth of the allegations contained in Paragraph 145 and therefore

denies the same.

                             CLASS ALLEGATIONS

       146. DyStar fully incorporates herein its responses to Paragraphs 1 through

145 in the Complaint as though fully set forth herein, and denies all allegations

except as admitted herein.

       147. The allegations of Paragraph 147 constitute legal conclusions to

which no response is required. To the extent that a response is deemed required,

DyStar admits that plaintiff and putative class members purport to bring this

lawsuit as a class action pursuant to Federal Rules of Civil Procedure 23(a) and

(b)(3). DyStar denies that class certification of the putative class is appropriate

under Federal Rule of Civil Procedure 23. Except as expressly admitted herein, the

allegations of Paragraph 147 are denied.

       148. The allegations of Paragraph 148 consist of legal conclusions to which

no response is required. To the extent that a response is deemed required, DyStar



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admits that Plaintiff purports to bring this lawsuit on behalf of the individuals

described. DyStar denies that class certification of the putative class is appropriate

under Federal Rule of Civil Procedure 23. Except as expressly admitted herein, the

allegations of Paragraph 148 are denied.

       149. The allegations of Paragraph 149 consist of legal conclusions to which

no response is required. To the extent that a response is deemed required, DyStar

admits that Plaintiff purports to bring this lawsuit on behalf of the individuals

described. DyStar denies that class certification of the putative class is appropriate

under Federal Rule of Civil Procedure 23. Except as expressly admitted herein, the

allegations of Paragraph 149 are denied.

       150. The allegations of Paragraph 150 consist of legal conclusions to which

no response is required. To the extent that a response is deemed required, DyStar

admits that Plaintiff purports to bring this lawsuit on behalf of the individuals

described. DyStar denies that class certification of the putative class is appropriate

under Federal Rule of Civil Procedure 23. Except as expressly admitted herein, the

allegations of Paragraph 150 are denied.

                 (a)   The allegations of Paragraph 150(a) consist of legal conclusions

to which no response is required. To the extent that a response is deemed required,

DyStar denies the allegations of Paragraph 150(a).




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                 (b)   The allegations of Paragraph 150(b) consist of legal

conclusions to which no response is required. To the extent that a response is

deemed required, DyStar denies the allegations of Paragraph 150(b).

                 (c)   The allegations of Paragraph 150(c) consist of legal conclusions

to which no response is required. To the extent that a response is deemed required,

DyStar denies the allegations of Paragraph 150(c).

                 (d)   The allegations of Paragraph 150(d) consist of legal

conclusions to which no response is required. To the extent that a response is

deemed required, DyStar denies the allegations of Paragraph 150(d).

                 (e)   The allegations of Paragraph 150(e) consist of legal conclusions

to which no response is required. To the extent that a response is deemed required,

DyStar denies the allegations of Paragraph 150(e).

       151. The allegations of Paragraph 151 consist of legal conclusions to which

no response is required. To the extent that a response is deemed required, DyStar

denies that class certification of the putative class is appropriate under Federal

Rule of Civil Procedure 23 and reserves its right to object to any attempt by

plaintiff “to amend the class definition.” DyStar denies all remaining allegations

contained in Paragraph 151 of the Complaint.

       152. The allegations of Paragraph 152 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be



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required, DyStar denies all allegations contained in Paragraph 152 of the

Complaint.

       153. The allegations of Paragraph 153 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 153 of the

Complaint.

       154. The allegations of Paragraph 154 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 154 of the

Complaint.

       155. The allegations of Paragraph 155 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 155 of the

Complaint.

       156. The allegations of Paragraph 156 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 156 of the

Complaint.

       157. The allegations of Paragraph 157, including subparagraphs (a)

through (k), constitute legal conclusions to which no response is required. To the



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extent that a response is deemed to be required, DyStar denies all allegations

contained in Paragraph 157, including subparagraphs (a) through (k) of the

Complaint.

       158. The allegations of Paragraph 158 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 158 of the

Complaint.

       159. The allegations of Paragraph 159 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 159 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 159 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 159.

       160. The allegations of Paragraph 160 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 160 of the

Complaint.




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       161. The allegations of Paragraph 161 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 161 of the

Complaint.

       162. The allegations of Paragraph 162 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 162 of the

Complaint.

                              COUNT FOUR:
     ALLEGED WILLFUL, WANTON, RECKLESS, OR NEGLIGENT
                              MISCONDUCT
    (All Defendants Except Dalton Utilities, Invista, 3M, Daikin, DuPont, &
                                 Chemours)

       163. DyStar fully incorporates herein its responses to Paragraphs 1 through

162 in the Complaint as though fully set forth herein, and denies all allegations

except as admitted herein.

       164. The allegations of Paragraph 164 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 164 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 164 to the



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extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 164.

       165. The allegations of Paragraph 165 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 165 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 165 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 165.

       166. The allegations of Paragraph 166 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 166 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 166 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 166.

       167. The allegations of Paragraph 167 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be



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required, DyStar denies all allegations contained in Paragraph 167 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 167 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 167.

       168. The allegations of Paragraph 168 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 168 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 168 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 168.

                              COUNT FIVE:
                    ALLEGED NEGLIGENCE PER SE
(All Defendants Except Dalton Utilities, 3M, DuPont, Chemours, INVISTA, &
                                   Daikin)

       169. DyStar fully incorporates herein its responses to Paragraphs 1 through

168 in the Complaint as though fully set forth herein, and denies all allegations

except as admitted herein.




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       170. The allegations of Paragraph 170 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 170 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 170 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 170.

       171. The allegations of Paragraph 171 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 171 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 171 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 171.

       172. The allegations of Paragraph 172 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 172 of the

Complaint to the extent they relate to DyStar. To the extent a further response is



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deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 172 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 172.

       173. The allegations of Paragraph 173 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 173 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 173 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 173.

       174. The allegations of Paragraph 174 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 174 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 174 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 174.



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                                COUNT SIX:
                      ALLEGED PUNITIVE DAMAGES
                    (All Defendants Except Dalton Utilities)

       175. DyStar fully incorporates herein its responses to Paragraphs 1 through

174 in the Complaint as though fully set forth herein, and denies all allegations

except as admitted herein.

       176. The allegations of Paragraph 176 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 176 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 176 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 176.

       177. The allegations of Paragraph 177 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 177 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 177 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 177.

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       178. The allegations of Paragraph 178 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 178 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 178 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 178.

       179. DyStar denies all allegations contained in Paragraph 179 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 179 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 179.

       180. DyStar denies all allegations contained in Paragraph 180 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 180 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 180.



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       181. DyStar denies all allegations contained in Paragraph 181 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 181 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 181.

       182. The allegations of Paragraph 182 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 182 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 182 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 182.

       183. The allegations of Paragraph 183 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 183 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 183 to the



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extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 183.

                            COUNT SEVEN:
                       ALLEGED PUBLIC NUISANCE
                    (All Defendants Except Dalton Utilities)

       184. DyStar fully incorporates herein its responses to Paragraphs 1 through

183 in the Complaint as though fully set forth herein, and denies all allegations

except as admitted herein.

       185. The allegations of Paragraph 185 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 185 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 185 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 185.

       186. The allegations of Paragraph 186 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 186 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a


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belief regarding the truth of the allegations contained in Paragraph 186 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 186.

       187. The allegations of Paragraph 187 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 187 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 187 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 187.

       188. The allegations of Paragraph 188 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 188 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 188 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 188.




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       189. The allegations of Paragraph 189 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 189 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 189 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 189.

       190. The allegations of Paragraph 190 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 190 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 190 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 190.

       191. The allegations of Paragraph 191 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 191 of the

Complaint to the extent they relate to DyStar. To the extent a further response is



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deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 191 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 191.

       192. The allegations of Paragraph 192 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 192 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 192 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 192.

       193. The allegations of Paragraph 193 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 193 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 193 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 193.



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                          COUNT EIGHT:
                      CLAIMS FOR ABATEMENT
            AND INJUNCTION OF ALLEGED PUBLIC NUISANCE

       194. DyStar fully incorporates herein its responses to Paragraphs 1 through

193 in the Complaint as though fully set forth herein, and denies all allegations

except as admitted herein.

       195. The allegations of Paragraph 195 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 195 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 195 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 195.

       196. The allegations of Paragraph 196 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 196 of the

Complaint, including allegations related to exhibits, to the extent they relate to

DyStar. To the extent a further response is deemed to be required, DyStar lacks

knowledge or information sufficient to form a belief regarding the truth of the

allegations contained in Paragraph 196 to the extent they relate to other



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Defendants, and therefore denies any and all remaining allegations contained in

Paragraph 196, including allegations related to exhibits.

       197. The allegations of Paragraph 197 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 197 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 197 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 197.

       198. The allegations of Paragraph 198 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 198 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 198 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 198.

       199. The allegations of Paragraph 199 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be



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required, DyStar denies all allegations contained in Paragraph 199 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 199 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 199.

       200. The allegations of Paragraph 200 constitute legal conclusions to

which no response is required. To the extent that a response is deemed to be

required, DyStar denies all allegations contained in Paragraph 200 of the

Complaint to the extent they relate to DyStar. To the extent a further response is

deemed to be required, DyStar lacks knowledge or information sufficient to form a

belief regarding the truth of the allegations contained in Paragraph 200 to the

extent they relate to other Defendants, and therefore denies any and all remaining

allegations contained in Paragraph 200.

       The WHEREFORE paragraph in the Complaint, including subparagraphs (a)

through (p), does not contain allegations and therefore no response is required. To

the extent a response is deemed to be required, any allegations, including any

allegations in subparagraphs (a) through (q), are denied.

       DyStar denies any liability for any injury alleged in the Complaint and

denies that Plaintiff and the Proposed Class Members are entitled to the relief or



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judgment requested.      To the extent any allegations of the Complaint are not

addressed directly herein, such allegations are denied.

                            ADDITIONAL DEFENSES

       Without assuming the burden of proof where it otherwise rests with Plaintiff

and putative class members, DyStar further pleads the following additional

defenses to all the individual claims alleged in the Complaint. All of the following

defenses are pled in the alternative and none of them constitutes an admission that

DyStar is liable to Plaintiff, that Plaintiff has been or will be injured or damaged in

any way, or that Plaintiff is entitled to any relief whatsoever.

                                  THIRD DEFENSE

       The Complaint, and each alleged claim contained therein, is barred, in whole

or in part, by the applicable statutes of limitations.

                                FOURTH DEFENSE

       The Complaint, and each alleged claim contained therein, is barred, in whole

or in part, by the applicable statutes of repose.

                                  FIFTH DEFENSE

       Plaintiff’s and putative class members’ complaint is barred by the doctrines

of unclean hands, laches, estoppel, res judicata, ratification, and/or waiver.




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                                 SIXTH DEFENSE

       Plaintiff and the putative class members lack standing, in whole or in part, to

bring the claims and demands for relief asserted in the Complaint.

                              SEVENTH DEFENSE

       Any injuries and/or damages alleged by Plaintiff and putative class members

were caused or contributed to by the negligence or actual conduct of other persons,

firms, corporations, or entities over whom DyStar had no control or right of control

and for whom DyStar is not responsible, including without limitation Lenmar

Chemical Corporation and its principals.

                               EIGHTH DEFENSE

       Any injuries and/or damages alleged by Plaintiff and putative class members

are barred by the doctrines of intervening cause and/or superseding cause.

                                NINTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, by the doctrines of contributory or comparative negligence.

                                TENTH DEFENSE

       Plaintiff’s and putative class members claims are barred, in whole or in part,

because DyStar has not designed, tested, manufactured, or sold products alleged to

have been found in any property or water owned by Plaintiff and putative class

members. Plaintiff’s and putative class members’ claims also are barred, in whole



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or in part, to the extent Plaintiff and putative class members have failed to link any

of the alleged damages to product(s) manufactured or discharged by DyStar.

                              ELEVENTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, because any levels of contamination allegedly caused by DyStar do not

exceed any applicable laws or binding regulatory standards at the relevant times.

                               TWELFTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, because any alleged conduct was lawful and/or because federal, state, and/or

local authorities authorized, ratified, or were aware of and acquiesced in actions

that are the subject of Plaintiff’s and putative class members’ claims.

                            THIRTEENTH DEFENSE

       Plaintiff and putative class members’ claims are barred, in whole or in part,

for failure to mitigate their damages, if any.

                            FOURTEENTH DEFENSE

       The Complaint, and each alleged claim contained therein, fails to join all

necessary and indispensable parties.

                              FIFTEENTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in wh ole or in

part, by the doctrines of acquiescence, accord and satisfaction, ratification,

settlement, or release.

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                              SIXTEENTH DEFENSE

        To the extent that Plaintiff has split his claims, Plaintiff’s claims are barred

in whole, or in part, by the doctrine prohibiting claim splitting.

                            SEVENTEENTH DEFENSE

        Plaintiff’s and putative class members’ claims are barred, in whole or in

part, because DyStar did not owe a legal duty to Plaintiff or putative class members

or, if DyStar owed such a duty, DyStar did not breach and/or fully discharged that

duty.

                             EIGHTEENTH DEFENSE

        Plaintiff’s and putative class members’ claims are barred, in whole or in

part, because none of the alleged acts or omissions of DyStar proximately caused

the purported injuries and damages allegedly sustained by Plaintiff and putative

class members.

                             NINETEENTH DEFENSE

        Plaintiff’s and putative class members’ claims for alleged injuries and

damages are barred, in whole or in part, because the claims and damages alleged

are speculative.

                              TWENTIETH DEFENSE

        Plaintiff’s and putative class members’ complaint and each count thereof, to

the extent that they seek punitive or exemplary damages, violate DyStar’s rights to

protection from “excess fines” as provided in the Eighth Amendment of the United


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States Constitution and Article I, Section I of the Constitution of the State of

Georgia, and violate DyStar’s right to substantive due process as provided in the

Fifth and Fourteenth Amendments of the United States Constitution and as

provided in the Constitution of the State of Georgia, and therefore fail to state a

cause of action supporting the punitive or exemplary damages claimed.

                           TWENTY-FIRST DEFENSE

       DyStar denies any liability, but in the event DyStar is found to have any

liability to plaintiff and putative class members, DyStar is entitled to an offset

against any such liability on its part for the greatest of: (1) any amounts actually

paid by any person or entity heretofore or hereafter for any of the injuries, costs,

damages and expenses alleged in the Complaint; (2) any amounts stipulated or

otherwise agreed to in any release or covenant not to sue any person or entity

heretofore or hereafter for any of the injuries, costs, damages and expenses alleged

in the Complaint; (3) the equitable share of the liability of any person or entity that

heretofore has received, or hereafter receives, any release from liability or

covenant not to sue with respect to any of the injuries, costs, damages and

expenses alleged in the Complaint; or (4) the share of liability of any settled or

released person or entity as determined pursuant to the applicable contributory

negligence law.




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                          TWENTY-SECOND DEFENSE

       DyStar cannot be held jointly and severally liable for the acts or omissions

of third parties because their acts or omissions were separate and distinct and the

alleged harm is divisible from and greater than any harm allegedly caused by acts

or omissions of DyStar.

                            TWENTY-THIRD DEFENSE

       To the extent that the Complaint asserts or Plaintiff and putative class

members would propose “market share” liability, “enterprise” liability, or other

alternative theories of causation, Plaintiff’s and putative class members’ claims are

barred, in whole or in part, because Georgia and other applicable law does not

recognize such theories of liability or would not apply such theories of liability to

the circumstances of this case.

                          TWENTY-FOURTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, to the extent that Plaintiff and putative class members cannot establish that

PFAS or PFCs have been reliably established, through scientific means, to be

capable of causing alleged injuries.

                            TWENTY-FIFTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, to the extent that Plaintiff and putative class members cannot establish that



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they were exposed to a sufficient concentration or amount of PFAS, and/or for a

sufficient duration, that has been reliably established, through scientific means, to

be capable of causing alleged injuries.

                            TWENTY-SIXTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, because DyStar acted reasonably and in good faith.

                         TWENTY-SEVENTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, to the extent that Plaintiff and putative class members seek to retroactively

impose liability for conduct that was not actionable at the time it occurred, and

DyStar may not be held liable under retroactive theories not requiring proof of

fault or causation.

                          TWENTY-EIGHTH DEFENSE

       DyStar asserts its rights to allocation or apportionment of fault pursuant to

applicable state law, as well as its right to a proportionate reduction of any

damages found against DyStar based on the negligence or other conduct of any

settling tortfeasor and/or responsible third party and/or Plaintiff or putative class

member.




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                            TWENTY-NINTH DEFENSE

       Plaintiff and putative class members have not alleged an injury that, as a

matter of law, supports a recovery in tort.

                               THIRTIETH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, to the extent that the alleged injuries and damages, if any, were due to

preexisting conditions, for which DyStar cannot be held responsible.

                           THIRTY-FIRST DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, because, at all relevant times, DyStar exercised due care with respect to its

activities and took reasonable precautions against foreseeable acts or omissions of

others.

                          THIRTY-SECOND DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, to the extent they are based upon Georgia law, as Georgia law does not apply

to the claims of plaintiff and the purported class, and because those claims are

preempted by applicable federal statutes and regulations pursuant to the

Supremacy Clause of the United States Constitution.




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                           THIRTY-THIRD DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, by the prior nuisance doctrine.

                          THIRTY-FOURTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, by the doctrine of prescription.

                            THIRTY-FIFTH DEFENSE

       Plaintiff’s and putative class members’ claim for attorney’s fees fails

because there is no contractual, statutory, or other basis for an award of attorney’s

fees in this lawsuit against DyStar. DyStar further did not act in a manner that

gives rise to a claim for attorneys’ fees or expenses in this lawsuit.

                           THIRTY-SIXTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, by the Public Services Doctrine.

                         THIRTY-SEVENTH DEFENSE

       Plaintiff’s and putative class members’ claims fail as improper collateral

attacks on properly issued permits.




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                          THIRTY-EIGHTH DEFENSE

       Plaintiff and putative class members’ should be required to provide a more

definite statement of their allegations as to each defendant. As currently pled,

plaintiffs’ Complaint violates the group pleading doctrine.

                           THIRTY-NINTH DEFENSE

       Plaintiff’s and putative class members’ claims are barred, in whole or in

part, by the Economic Loss Doctrine.

                                FORTIETH DEFENSE

       DyStar adopts by reference any additional applicable defense pleaded by any

other Defendant not otherwise pleaded herein.

                         RESERVATION OF DEFENSES

       DyStar specifically reserves all separate or additional defenses that it may

have against Plaintiff or putative class members. Additionally, DyStar reserves the

right to raise additional defenses and other issues as discovery proceeds, and

incorporates all applicable defenses asserted by others that are not otherwise

specifically set forth above.

                                  JURY DEMAND

       DyStar demands a trial by jury on all issues so triable.




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                                  PRAYER FOR RELIEF

       WHEREFORE, DyStar prays for judgment as follows:

       1.        This case no longer continue as a purported class action;

       2.        That Plaintiff be awarded nothing by way of the Complaint;

       3.   That Judgment be entered in favor of DyStar and against Plaintiff and
that the Complaint be dismissed with prejudice;

       4.        That DyStar be awarded its costs of suit incurred in the defense of this
action;

      5.      That DyStar be awarded, as allowed by law, its attorneys’ fees
incurred in the defense of this action;

       6.        For a jury trial on all issues so triable; and

       7.        For such other relief in favor of DyStar as the Court deems proper.

       Respectfully submitted this 1 st day of February, 2022.



                                          /s/ Steven D. Weber
                                          STEVEN D. WEBER
                                          Georgia Bar No. 825170
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                                          Counsel for Defendant DyStar L.P.




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                     CERTIFICATE OF COMPLIANCE

      Pursuant to Northern District of Georgia Civil Local Rule 7.1.D., the

undersigned counsel certifies that the foregoing filing is prepared in Times New

Roman 14-point font, as mandated in Local Rule 5.1.C.



                                  /s/ Steven D. Weber
                                  STEVEN D. WEBER
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                         CERTIFICATE OF SERVICE

      I certify that a copy of the foregoing ANSWER TO FOURTH AMENDED

INDIVIDUAL AND CLASS ACTION COMPLAINT has been filed

electronically with the Clerk of Court by using the CM/ECF system which will

automatically email all counsel of record.

      This the 1st day of February 2022.

                                    /s/ Steven D. Weber
                                    STEVEN D. WEBER
